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Exhibit M
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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
AMERICAN GENERAL LIFE INSURANCE
COMPANY,
Plaintiff,
Vs. Case No. 8:15-cv-00192-EAK-AEP

KEVIN H. BECHTEL and LIFE BROKERAGE
PARTNERS, LLC

Defendants.

/

. Affidavit of Vanessa Nally Derouise
BEFORE ME, the undersigned authority, personally appeared Vanessa Nally

Derousie, who, being duly sworn, deposes and says:

1. [am over the age of majority, have firsthand knowledge of the facts set forth
in this affidavit, and know the facts to be true and correct based upon
information known by me or based upon information obtained from
business records of Life Brokerage Partners, LLC (“LBP”) and Life
Brokerage Equity Group, Inc. ("LBEG").

2. In 2007, I was the Director of Licensing and Contracting for LBP.

3. As part of the formation of LBP, it was required to obtain contracts with
insurance companies for the purpose of conducting business with those
insurance companies.

4, As the Director of Licensing and Contracting, I was placed in charge of
obtaining the applications and contracting documents from the various
insurance companies.

5. For American General, I contacted its contracting department and requested
all application and contracting documents necessary to get LBP contracted
with American General.
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6. American General provided me with the application and contracting
documents that were necessary for LBP to have an IMO contract with
American General.

7. No other documents were provided by American General or on its behalf in
order to become contracted with American General.

8. Included in the application and contracting documents that were provided
to me by American General was an Appointment Application, a 1 page
Agency Agreement and an Assignment of Commissions document. The
documents were completed by my office, signed by Kevin Bechtel as
Owner of LBP and returned to American General.

9. There were no terms and conditions or other documents included with the
Agency Agreement document.

10. I was not instructed by anybody at American General nor was I aware that
terms and conditions that went along with the Agency Agreement were
available on the American General website.

11. In October 2007, I contacted John Ekberg and requested that he obtain a
copy of the executed LBP Agency Agreement from American General.

12. Prior to my leaving LBP in 2009, I never received a fully executed copy of
the Agency Agreement.

13. I reviewed the “specimen” terms and conditions that American General has
alleged in the pending lawsuit are part of the Agency Agreement between it
and LBP. Prior to reviewing the “specimen” terms and conditions in
preparation for this affidavit, I had never seen them, was not provided with
them by anybody at American General.

FURTHER AFFIANT SAYETH NAUGHT.
STATE OF FLORIDA

COUNTY OF HILLSBOROUGH

ax. E°°™" Ze? a

‘VANESSA NALLY BEROUSIE

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. The foregoing Affidavit was sworn to and subscribed before me on this Ww day
' of April, 2017 by Vanessa Nally Derousie and yovho is personally known to me or [ ] who

produced as identification.
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